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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. * CRIMINAL NO. JKB-17-0589
MOISES ALEXIS REYES- ‘
CANALES, et al.,
Defendants *
* * * * * * ra * * x * *
MEMORANDUM

Moises Alexis Reyes-Canales and Juan Carlos Sandoval-Rodriguez are charged along with
four other defendants in a case encompassing one murder, two attempted murders, and allegations
of involvement in an alleged criminal enterprise, MS-13. Reyes-Canales is charged with
conspiracy to participate in a racketeering enterprise, 18 U.S.C. § 1962(d), two counts of attempted
murder in aid of racketeering, 18 U.S.C. § 1959(a)(5), conspiracy to commit murder in aid of
racketeering, 18 U.S.C. § 1959(a)(5), two counts of possession and use of a firearm during and in
relation to a crime of violence, 18 U.S.C. § 924(c), and conspiracy to possess a firearm in
furtherance of a crime of violence, 18 U.S.C. § 924(0). Sandoval-Rodriguez is charged under two
separate counts for murder in aid of racketeering, 18 U.S.C. § 1959(a)(1), and conspiracy to
commit murder in aid of racketeering, 18 U.S.C. § 1959(a)(5). The other defendants have pleaded
guilty, and Reyes-Canales and Sandoval-Rodriguez are the only remaining defendants facing trial.
Reyes-Canales and Sandoval-Rodriguez are not both charged in any single count—there is no
overlap.

~ On October 1, 2019, the Government filed a Status Report which contained the evidence it

planned to introduce in the joint trial of Reyes-Canales and Sandoval-Rodriguez. (Status Rep.,

 
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ECF No. 235.) The Court filed a Letter Order later that day alerting counsel to the fact that, based
on the evidence the Government sought to admit, and recognizing the change in circumstances
presented by the other defendants’ guilty pleas, the Court now harbored serious doubts about the
fairness of trying Reyes-Canales and Sandoval-Rodriguez together. (Letter Order, ECF No. 236.)
On October 2, the Government filed a Response to the Court’s Letter Order. (Gov. Resp., ECF
No, 239). Both Sandoval-Rodriguez and Reyes-Canales subsequently filed separate Motions to
Sever. (S.R. Mot. Sever., ECF No. 240; R.C. Mot. Sever, ECF No. 241.) The Court held a hearing
to address these motions on October 3, 2019. For the following reasons, as well as those stated in
open court, the Court will grant Reyes-Canales’s Motion to Sever. Sandoval-Rodriguez’s Motion
to Sever accordingly will be denied as moot.!
I Background

This case concerns the murder of one victim and the attempted murder of two victims in
connection with the defendants’ alleged involvement in MS-13.? The Government alleges the
defendants conspired to kill Victim 1 because they believed he was connected to a rival gang.
(Status Rep. at 2.) The Government alleges that on March 11, 2016, Reyes-Canales, Sandoval-
Rodriguez, and the other defendants lured Victim 1 to a park, hit him on the head with a blunt
object, and proceeded to stab him multiple times until he died. (/d. at 2-3.) After the murder, the
defendants allegedly dug a shallow grave and buried Victim 1, whose body was not found for
almost a year and a half. (/d. at 3.) The Government alleges Reyes-Canales directed this murder.
Ud.)

On October 23, 2016, some of the defendants—including Reyes-Canales, but not

 

' The Court makes no decision as to the merits of Sandoval-Redriguez’s Motion to Sever.
? The Court uses the term “defendants” to refer to the six individuals charged in the Superseding Indictment. Where
necessary and possible, the Court identifies the individual allegations against Reyes-Canales and Sandoval-Rodriguez.

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Sandoval-Rodriguez—allegedly plotted to kill Victim 2 because they believed he was also a
member ofa rival gang. (Ud. at 4.) The defendants sought to lure Victim 2 to the same park where
they allegedly murdered Victim 1, but he arrived with Victim 3. (/d.) The Government alleges
the defendants “decided they could leave no witnesses to the murder” and decided to also murder
Victim 3. (/d.) Reyes-Canales and another defendant drew handguns and ordered Victims 2 and
3 out of their car. (/d.) The Victims began to run, and another defendant shot Victim 3 in the legs
multiple times. (/d.) Reyes-Canales allegedly attempted to shoot at the Victims as well, but he
did not fire because his gun malfunctioned. (/d.) Other defendants chased the Victims, repeatedly
stabbed Victim 2 with a knife, and attempted to run over Victim 2, (/d.) Victim 2 was later found
by police “lying in a pool of blood and bleeding profusely,” (/d.) Victim 3 was also found bleeding
profusely, and “appeared .. . nearly decapitated.” Miraculously, both Victim 2 and Victim 3
ultimately survived this attack. (/d.)

Sandoval-Rodriguez is not charged in relation to the attempted murders of Victims 2 and
3 because the Government “does not believe h[e] participated in that conduct.” (/d. at 2.) And
Reyes-Canales is not charged—and cannot be charged—for the murder of Victim 1 because he
was a juvenile at the time this murder took place. An individual may not be prosecuted in federal
court for crimes committed as a juvenile if the mandatory maximum penalties for those crimes
would be unconstitutional as applied to a juvenile. United States v. Under Seal, 819 F.3d 715, 728
(4th Cir. 2016). The Supreme Court has held that both the death penalty and life imprisonment—
the mandatory maximum sentences for murder in aid of racketeering—are unconstitutional when
applied to juveniles. Miller v. Alabama, 567 U.S. 460, 489 (2012) (mandatory life imprisonment
without parole unconstitutional for juveniles); Roper v. Simmons, 543 U.S. 551, 568 (2005) (death

penalty unconstitutional for juveniles). Therefore, as the case stands, Reyes-Canales is not and
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cannot be charged in federal court for the murder of Victim 1.

Reyes-Canales argues in his Motion to Sever that a joint trial with Sandoval-Rodriguez
would prejudice his right to a fair trial. (R.C. Mot. Sever at 1.) Reyes-Canales argues that
Sandoval-Rodriguez and Reyes-Canales are not charged with being part of the same overarching
conspiracy, nor are they charged with the same murders or attempted murders.? (Jd. at 5.) He
argues that the introduction of evidence about his involvement in the murder of Victim 1, for which
only Sandoval-Rodriguez is charged, would be unfairly prejudicial because this evidence concerns
behavior committed before he reached the age of majority, for which he is not legally culpable.
(Id.)

The Government acknowledges that evidence of Reyes-Canales’s involvement in the
murder of Victim | is not admissible to prove his guilt in Victim 1’s murder, But the Government
argues in response that the introduction of such evidence is not unfairly prejudicial and is
admissible “to prove [the existence of] the MS-13 enterprise alleged in the [violent crimes in aid
of racketeering] involving Reyes-Canales” and “to prove Reyes-Canales’ motive in committing
those crimes, i.e., to maintain or increase position in the MS-13 enterprise.” (Gov. Resp. at 5.)
The Government also argues such evidence is admissible in support of the charge of conspiracy to
participate in a racketeering enterprise, 18 U.S.C. § 1962(d), because such evidence demonstrates
when Reyes-Canales joined the conspiracy, the scope of the conspiracy, and the foreseeability of
the acts of his coconspirators. (Status Rep. at 2.)

i, Standard

 

3 The Government contends that Sandoval-Rodriguez was a member of a different section, or “clique,” of MS-13
than Reyes-Canales, which is why Sandoval-Rodriguez is not charged in Count I alleging a conspiracy to participate
in a racketeering enterprise with Reyes-Canales. (Status Rep. at 1-2.)

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Pursuant to Federal Rule of Criminal Procedure 14, if the joinder of defendants for trial
“appears to prejudice a defendant or the government, the court may order separate trials of counts,
sever the defendants’ trials, or provide any other relief that justice requires.” Fed. R. Crim. P. 14.
Severance should be granted “only if there is a serious risk that a joint trial would compromise a
specific trial right of one of the defendants, or prevent the jury from making a reliable judgment
about guilt or innocence,” Zafiro v. United States, 506 U.S. 534, 539 (1993). “[T]he trial judge
has a continuing duty at all stages of the trial to grant a severance if prejudice does appear.”
Schaffer v. United States, 362 U.S. 511, 516 (1960). Once a court has determined that joinder
would lead to prejudice, it is in the court’s discretion to fashion: the relief it deems necessary.
Zafiro, 506 U.S. at 539, 541 (“Rule 14 leaves the determination of risk of prejudice and any remedy
that may be necessary to the sound discretion of the district courts.”). Accordingly, a trial court’s
decision on a motion to sever is reviewed only for an abuse of discretion. United States v. Allen,
491 F.3d 178, 189 (4th Cir, 2007).

Federal Rule of Evidence 404(b) permits the Court to admit evidence of crimes or wrongs
not charged to prove “motive, opportunity, intent, preparation, plan, knowledge, identity, absence
of mistake, or lack of accident.” However, Rule 404(b) is tempered by Rule 403, which permits
the court to exclude relevant evidence if the probative value of that evidence is “substantially
outweighed” by the “danger of . . . unfair prejudice, confusing the issues,” or “misleading the jury.”
Fed. R. Evid. 403. See Huddleston v. United States, 485 U.S. 681, 688 (1988) (the admission of
evidence under 404(b) should be assessed under Rule 403) (citing Advisory Committee’s Notes
on Fed. R. Evid. 404(b)).

HE Analysis
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Courts have a responsibility to ensure the fundamental fairness of criminal trials, and this
responsibility is at its zenith when the court is presiding over a complex, multidefendant criminal
trial that contains allegations of extreme violence. The right to a fair trial is trial is “the most
fundamental of all freedoms,” Estes v. State of Téx., 381 U.S. 532, 540 (1965), and accordingly
courts strive “to prevent even the probability of unfairness,” In re Murchison, 349 U.S. 133, 136
(1955).

The Government argues, and the Court acknowledges, that evidence of pre-majority
conduct is sometimes admissible to show “the existence of the conspiracy” and a defendant’s
“knowledge ofits purpose.” United States v. Spoone, 741 F.2d 680, 688 (4th Cir. 1984). However,
the fact that the Fourth Circuit has found the admission of such evidence non-erroneous in other
cases does not mean that such evidence is admissible in every case. In Spoone, 741 F.2d at 688,
the defendant argued that the district court’s denial of a motion for severance unfairly prejudiced
him and prevented him from receiving a fair trial because it resulted in the introduction of evidence
regarding his pre-majority criminal activity. The F ourth Circuit determined that the introduction
of this evidence was not erroneous because evidence of defendant’s pre-majority activity “would
have been admissible against him in a separate trial to show both the existence of the conspiracy
and his knowledge ofits purpose.” /d. For the same reasons, the Government argues that evidence
of the murder of Victim 1 would be admissible against Reyes-Canales. (Gov. Resp. at 4.)

However, the fact remains that such evidence remains subject to exclusion under Rule 403
if its probative value is substantially outweighed by the risk of unfair prejudice. Fed. R. Evid. 403.
Here, the Government does not seek to introduce evidence that Reyes-Canales was involved in an
auto-theft conspiracy before his eighteenth birthday, as it did in Spoone, Nor does the Government

seek only to introduce evidence that Reyes-Canales was involved in MS-13, an organization the

 
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Government alleges commits violent murder, before his eighteenth birthday. Rather, the
Government secks to introduce evidence of an especially gruesome murder which Reyes-Canales
personally directed and participated in, yet for which he is legally non-culpable. As explained
above, the introduction of evidence of other crimes under Rule 404(b) is subject to the general
limitations imposed by Rule 403, Not only does the Government seek to introduce evidence of a
violent, bloody murder, the subsequent burial of the victim in a shallow grave, and a decomposed
body that was not located until almost a year and a half later—the Government also seeks to
introduce evidence that Reyes-Canales directed this horrific activity. The danger of unfair
prejudice in this situation cannot be overstated.

Nevertheless, the Government argues that there is no risk of prejudice here because Reyes-
Canales is charged with two other grisly attempted murders of which the jury will receive evidence.
(Gov. Resp. at 5.) It is true that the Fourth Circuit has found that the introduction of other conduct
which was “substantially similar” to the crime charged did not “create a substantial risk that jurors
would be excited to irrational behavior,” but that ruling considered evidence of fraud—not murder.
United States y. Siegel, 536 F.3d 306, 319-20 (4th Cir. 2008). Evidence that Reyes-Canales
directed and participated in the murder of a victim where, as the Government contends, the victim
was stabbed by multiple individuals with knives until he died, is exactly the type of evidence that
would “excite[]” a jury to “irrational behavior.” Jd. |

Furthermore, “[w]hen many defendants are tried together in a complex case and they have
markedly different degrees of culpability, this risk of prejudice is heightened.” Zafiro, 506 U.S.
at 539. Here, the Court is facing the unusual situation in which evidence will be presented about

a murder involving two defendants, but jurors will be instructed that only one is potentially
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culpable. Such an unusual situation with such extreme and horrific facts raises a serious risk of
unfair prejudice.

Relatedly, the joinder of these two defendants in one trial risks confusing the jury. The
Government argues that a limiting instruction and separate verdict forms will dispel any juror
confusion over whether Reyes-Canales should be found culpable for the murder of Victim 1. (Gov.
Resp. at 3.) While courts normally presume that the jury will follow its instructions, there are
times where “‘the risk that the jury will not, or cannot, follow instructions is so great, and the
consequences of failure so vital to the defendant, that the practical and human limitations of the
jury system cannot be ignored.’”” Simmons v. South Carolina, 512 U.S. 154, 171 (1994) (quoting
Bruton v. United States, 391 U.S. 123, 135 (1968)). The Court finds that such a situation exists
here. Despite the best intentions, there comes a point where evidence relating to uncharged crimes
is so extreme and gruesome that it is beyond the reach of limiting instructions. The Court seriously
questions the ability of a jury to hear evidence about Reyes-Canales’s alleged involvement in and
direction of the murder of Victim 1 and then largely ignore that information in determining his
culpability for the attempted murders of Victims 2 and 3, only considering the murder of Victim 1
as evidence regarding his membership in the alleged racketeering conspiracy, Despite the weighty
tasks the court entrusts to jurors every day, jurors remain human, In this case, the Court finds the
risk of juror confusion further argues in favor of severing the trial.

Ultimately, the Court finds that the extreme, heinous nature of the murder of Victim 1,
Reyes-Canales’s status as a juvenile at that time, and the complexity of the issues involved create
a significant risk of unfair prejudice and juror confusion which warrants severing the trial of Reyes-
Canales and Sandoval-Rodriguez.

LTV. = Conclusion

 
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For the foregoing reasons, and the reasons stated in open court, an Order shall enter
granting Reyes-Canales’s Motion to Sever and denying Sandoval-Rodriguez’s Motion to Sever as

moot,

DATED this 4 day of October, 2019.

BY THE-COURT;

(am. ThA 2h

James K. Bredar
Chief Judge

 
